
61 N.Y.2d 1010 (1984)
In the Matter of Boleslaw Chmielewski, Respondent,
v.
City of New York et al., Appellants.
In the Matter of Boleslaw Chmielewski, Respondent,
v.
Triboro Bridge and Tunnel Authority, Appellant.
Court of Appeals of the State of New York.
Decided March 29, 1984.
Frederick A. O. Schwarz, Jr., Corporation Counsel (Miriam Skolnick of counsel), for City of New York, appellant.
Lewis I. Wolf for Metropolitan Transportation Authority, appellant.
Stephen A. Weingrad for Triboro Bridge and Tunnel Authority, appellant.
William Greenberg for respondent.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER, SIMONS and KAYE.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs. It cannot be said, as a matter of law, that the Appellate Division abused its discretion in granting petitioner's application to serve late notices of claim.
